Case 6:17-cv-00692-WWB-EJK Document 249 Filed 02/14/20 Page 1 of 2 PageID 4743




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  DEBORAH CLARK, individually and on                     Case No. 6:17-cv-00692-WWB-EJK
  behalf of all others similarly situated,

          Plaintiff,
  v.

  FDS BANK and DEPARTMENT STORES
  NATIONAL BANK,

         Defendants.
                                                 /

  FDS BANK and DEPARTMENT STORES
  NATIONAL BANK,

         Third-Party Plaintiffs,
  v.

  RONDA MERCER,

         Third-Party Defendant.
                                                 /

                          JOINT NOTICE OF CLASS SETTLEMENT

        The Parties, Plaintiff Deborah Clark and Defendants FDS Bank and Department Stores

 National Bank, through their respective counsel, respectfully advise the Court that they have

 reached an agreement in principle to settle this matter on a class-wide basis, in addition to the

 third-party claims thereto. The Parties are currently in the process of finalizing the terms of the

 agreement as well as working to prepare the related filings such as Plaintiff’s motion for

 preliminary approval of the class settlement. In light of this, the Parties respectfully request that

 the above-captioned litigation, and all outstanding deadlines as set forth in the case management

 order (Doc. 160) and amendments thereto (Doc. 242) be stayed, with the Parties to submit an

 updated joint status report no later than thirty (30) days from today’s date.

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Case 6:17-cv-00692-WWB-EJK Document 249 Filed 02/14/20 Page 2 of 2 PageID 4744




         Respectfully submitted this 14th day of February, 2020.

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                                                  Counsel for Defendants/Third Party Plaintiffs

                                 CERTIFICATE OF SERVICE

         I certify that on February 14, 2020, I electronically filed the foregoing with the Clerk of
 the Court by using the CM/ECF system, who will send a notice of electronic filing to all counsel
 of record.

                                                        s/Christopher W. Prusaski
                                                        Christopher W. Prusaski




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